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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11     HILARIO GONZALES,                           Case No. 19-cv-0050-BAS-AGS

12                                  Plaintiff,     ORDER TERMINATING
                                                   PENDING MOTION TO DISMISS
13           v.
                                                   [ECF No. 5]
14     BAYVIEW LOAN SERVICING,
       LLC, et al.,
15
                                 Defendants.
16
17         In the wake of Defendant Bayview Loan Servicing, LLC’s (“Bayview”)
18   pending motion to dismiss filed on March 21, 2019, (ECF No. 5), Plaintiff Hilario
19   Gonzales filed a First Amended Complaint (“FAC”) on April 23, 2019 (ECF No. 8).
20   A day later, Plaintiff “withdrew” that version of the FAC (ECF No. 9) and filed a
21   second version of the FAC, (ECF No. 10). Although Plaintiff has violated Rule 15
22   in filing the FAC, the Court will permit the FAC and will terminate the pending
23   motion to dismiss.
24
25                                     DISCUSSION
26         In plain terms, Rule 15 sets forth the circumstances in which a party may
27   amend his pleadings. Under Rule 15(a), a party may amend his pleadings once as a
28   matter of course within 21 days of service, or 21 days after service of a responsive

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 1   pleading or a motion under Rule 12(b). Fed. R. Civ. P. 15(a)(1)(A)–(B). “In all
 2   other cases, a party may amend its pleading only with the opposing party’s written
 3   consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2).
 4
 5         Plaintiff’s FAC is improper under each of these provisions. First, Plaintiff
 6   can no longer amend his pleadings as a matter of course under Rule 15(a)(1)(A).
 7   Because Plaintiff filed this case on January 8, 2019, (ECF No. 1), Plaintiff had until
 8   January 29, 2019 to file an amended pleading as a matter of course. The FAC comes
 9   nearly three months after this deadline. Second, Plaintiff’s FAC is untimely under
10   Rule 15(a)(1)(B) because Bayview filed and served its motion to dismiss on March
11   21, 2019. (ECF No. 5.) Under the Rule, Plaintiff had until April 11, 2019 to file an
12   amended pleading in response to the motion to dismiss. The present FAC comes
13   nearly two weeks after the deadline. Plaintiff did not request an extension of time.
14   Third, Plaintiff makes no indication that he received consent from Bayview to file
15   the FAC, nor has Plaintiff requested permission from this Court to file the FAC.
16   Thus, Plaintiff’s FAC is improper under Rule 15(a)(2). Under these circumstances,
17   it would be entirely proper for the Court to strike the FAC. See Ibrahim v. United
18   States Dep’t of Homeland Sec., 835 F.3d 1048, 1065 (9th Cir. 2016) (“District courts
19   have the inherent power to strike items from their docket for litigation conduct.”);
20   Frank v. Ocwen Loan Servicing, LLC, No. EDCV 16-02126-JGB (DTBx), 2017 WL
21   8116460, at *8 (C.D. Cal. Mar. 30, 2017) (striking improperly filed first amended
22   complaint).
23
24         However, this Court “possesses inherent power over the administration of its
25   business.” Spurlock v. F.B.I., 69 F.3d 1010, 1016 (9th Cir. 1995). This power
26   includes the authority to promulgate and enforce rules for the management of
27   litigation and its docket. Id. (citation omitted). It is evident that Plaintiff filed the
28   FAC in response to Bayview’s pending motion to dismiss because Plaintiff has not

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 1   filed any opposition to the motion. Under these circumstances and in the interest of
 2   judicial economy, the Court will permit the FAC.          Generally, “an amended
 3   complaint supersedes the original complaint and renders it without legal effect.”
 4   Lacey v. Maricopa Cty., 693 F.3d 896, 927 (9th Cir. 2012) (en banc). Because
 5   Bayview’s motion to dismiss is directed to a pleading that is no longer the operative
 6   pleading, it is appropriate to terminate the motion.
 7
 8                               CONCLUSION & ORDER
 9         For the foregoing reasons, the Court TERMINATES Bayview’s pending
10   motion to dismiss. (ECF No. 5.) This termination is not an adjudication on the
11   merits of the arguments raised in Bayview’s motion. The Court sua sponte extends
12   Bayview’s time to respond to the FAC. Bayview may file a motion to dismiss the
13   FAC (ECF No. 10) no later than May 22, 2019.
14
15         As a final matter, Plaintiff SHALL NOT file amended pleadings unless this
16   Court gives him permission to do so first or Defendants have provided their
17   written consent to the filing of an amended pleading. See Fed. R. Civ. P. 15(a)(2).
18   This includes improper use of a notice of withdrawal to file additional versions of
19   pleadings. The Court will strike from the docket any pleadings which do not comply
20   with this Order and, if appropriate, will consider whether sanctions are warranted.
21         IT IS SO ORDERED.
22   DATED: April 25, 2019
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